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PRoB. 12
(Rev.a/ss}
UNITED STATES DISTRICT COURT
‘F".ED BY _* ~ .*O_C.
for 05
JUL -7 g
WESTERN DISTRICT OF TENNESSEE PH h 32
}HOM.{\ v n .
WESTERN DIVISION CLE U'Sé`égip;pfm
U.S.A. vs. TARIO GRAHAM Docket No. 2:02CR}20§@`):~ 01

Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER II PROBATION ()FFICER OF THE CO URT presenting
an official report upon the conduct and attitude of Tario Graham who Was placed on supervision by the Honorable
J. Daniel Breen sitting in the Court at Memphis, TN on the _2_@ day of August, ZM who fixed the period of
supervision at two 121 years*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

The defendant shall participate in a Substance abuse treatment program as deemed appropriate by the probation
office

The defendant shall obtain his GED.

*Term of Supervised Release began March l l, 2005.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHED)

PRAYING THAT THE COURT WILL ()RDER a SUMMONS be issued for Mr. Graham to appear before the
Honorable J. Daniel Breen to answer charges of violation of Supervised Release.

ORDER OF COURT I declare under penalty of perjury that the foregoing

~V\ is true and correct.
‘ d and/ordered this 2 day
.m| , 2@¢_3_ and ordered filed and Executed on 5) 2 0 05

f the re s in the above case. /V - _ 12
ga 4 ij %‘M
U.S. Probation Officer

U it€ States District Jud`ge
Place Mem his Tennessee

  
 

 

 

 

This document entered on the docket sheet in compliance
with l=\ule 55 and/or 32(b) FRCrP on "' ’

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Graham, Tario
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Page 2

RESPECTFULLY PRESEN'I`ING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substance.

Mr. Graham used a controlled substance as evidenced by positive screens for cocaine on May 18 and marijuana on
April ll, May 16, and June 2(), 2005. "

The defendant shall participate in a substance abuse treatment program as deemed appropriate by the
probation office.

On March 30, 2005, Mr. Graham Was referred to the Alcohol and Chemical Abuse Rehabilitation Center (ACAR)
to begin drug testing and treatment Between March 30, 2005, and June 30, 2005, he failed to attend five (5) drug
screens and a scheduled counseling session on June 3, 2005 . He was discharged due to non-compliance on Ju]y l,
2005.

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l. Def`endant Tario Graham 2714 Kimball Memphis. TN 381 14
2. Docket Number (Year-Sequence~Defendant No.) 2:02€R20323-001
3. District/0fiice Western District of Termessee (Memphis`i
4. Original Sentence Date 8 28 03
month day year

(Ifdrjj?erent than above):
5. Original District/Ofi`rce

 

 

6. Original Docket Number (Year-Sequence-Defendant No.)

7. List each violation and determine the applicable grade {§_i§ §7]31.1}:

 

 

 

 

 

 

Viol ation § s} Grade
Usage of a controlled substance (cocaine & marijuana) B
Fai|ure to participate in drug testing/treatment as directed C
8. Most Serious Grade of Violation (s£ §7B l . l(b) B
V

9. Criminal Histor'y Category (B §7Bl.4(a))74

 

 

 

 

 

lO. Range of imprisonment (B §7Bl .4(a))

itt-24 months*

 

*Being originally convicted of a Class C felony, the statutory maximum term of imprisonment is 24 months; 18 U.S.C. §3583(e)(3).

I l. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{ } (a)lf` the minimum term of imprisonment determined under §7Bl .4(Ter'm of Imprisonment) is at least one month

but not more than six months, §7Bl .3(c) (l) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §7Bl .4(Term of Imprisonment) is more than six

months but not more than ten months, §7B l .3(c) (2) provides sentencing options to imprisonment

{X} (c)lf the minimum term of imprisonment determined under §7B I .4(Term of Impr'isonment) is more than ten

months, no sentencing options to imprisonment are available

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenue, N.W.

Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

 

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Defendant Tario Graham Docket #2:02CR20323~001

12. Unsatisfled Conditions of Original Sentence

List any restitution, fine, community confinement, home detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {s_e_e §7B1.3(d)}:

 

 

 

 

Restitution ($) NfA Community Continement N/A
Fine ($) N/A Home Detention N/A
Other N/A lntermittent Confinement N/A

 

 

13. Supervised Release

if probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§5D1 . 1 -1 .3 {§g

§§7131-3(§)(1)}-

Terrn: NfA to N/A years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {Y_e 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

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List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

15. Ofticial Detention Adjustment {Lg §7Bl.3{e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

UNITED sTATE DrsrCT COURT - WESTRNE D'R'sTCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:02-CR-20323 was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

